
548 So. 2d 516 (1988)
Ex parte Billy Joe MAGWOOD.
(Re Billy Joe Magwood v. State).
87-873.
Supreme Court of Alabama.
December 30, 1988.
Rehearing Denied June 16, 1989.
Certiorari Denied October 16, 1989.
J.L. Chestnut, Jr. of Chestnut, Sanders, Sanders, Turner, Williams &amp; Pettaway, Selma, for petitioner.
Don Siegelman, Atty. Gen., and William D. Little, Asst. Atty. Gen., for respondent.
Certiorari Denied October 16, 1989. See 110 S. Ct. 291.
BEATTY, Justice.
Having considered the record, together with the briefs and arguments of counsel, this Court has concluded that the judgment of the Court of Criminal Appeals must be affirmed. 548 So. 2d 512. It is so ordered.
AFFIRMED.
TORBERT, C.J., and MADDOX, ALMON, SHORES, HOUSTON and STEAGALL, JJ., concur.
JONES and ADAMS, JJ., not sitting.
